Case 2:18-cv-03093-JFW-AS Document 111 Filed 08/30/21 Page 1 of 2 Page ID #:2891




  1
      Todd M. Friedman (SBN 216752)
      Adrian R. Bacon (SBN 280332)
  2   Meghan E. George (SBN 274525)
  3
      Thomas E. Wheeler (SBN 308789)
      LAW OFFICES OF TODD M. FRIEDMAN, P.C.
  4   21550 Oxnard St. Suite 780,
  5   Woodland Hills, CA 91367
      Phone: 323-306-4234
  6   Fax: 866-633-0228
  7   tfriedman@toddflaw.com
      abacon@toddflaw.com
  8   mgeorge@toddflaw.com
  9   twheeler@toddflaw.com
      Attorneys for Plaintiff
 10
                          UNITED STATES DISTRICT COURT
 11
                         CENTRAL DISTRICT OF CALIFORNIA
 12

 13   LISA KIM, individually and on behalf    Case No. 2:18-cv-03093-JFW-AS
 14   of all other similarly situated,
                                              [Hon. John F. Walter]
 15   Plaintiff,                              NOTICE OF REPRESENTATION
 16          vs.

 17   TINDER, INC., a Delaware
      corporation; MATCH GROUP, LLC
 18   a Delaware limited liability company;
      MATCH GROUP, INC., a Delaware
 19   corporation; and DOES 1 through 10,
      inclusive, and each of them,
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      Defendants
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Case 2:18-cv-03093-JFW-AS Document 111 Filed 08/30/21 Page 2 of 2 Page ID #:2892




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            The undersigned representations Plaintiff Lisa Kim, individually and on

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      behalf of all others similarly situated, and the appellant in this matter, and no other

  3
      party. The following is a list of all of the parties to the action and the information

  4   regarding their counsel. See F.R.A.P. (12)(b); Ninth Circuit Rule 3-2(b).

  5
             Defendant Tinder, Inc., Match Group, LLC, Match Group, Inc.
  6

  7                       MANATT, PHELPS & PHILLIPS, LLP
                         ROBERT H. PLATT (Bar No. CA 108533)
  8
                              E-mail: rplatt@manatt.com
  9                     DONALD R. BROWN (Bar No. CA 156548)
                             E-mail: dbrown@manatt.com
 10
                        ALEXANDRA N. HILL (Bar No. CA 313249)
 11                           E-mail: ahill@manatt.com
                            11355 West Olympic Boulevard
 12
                             Los Angeles, CA 90064-1614
 13                           Telephone: (310) 312-4000
                              Facsimile: (310) 312-4224
 14

 15
      Dated: August 30, 2021                  Law Offices of Todd M. Friedman, P.C.
 16

 17                                           By:    /s/ Todd M. Friedman
                                                     Todd M. Friedman, Esq.
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                                                     Attorneys for Plaintiff
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                                    NOTICE OF REPRESENTATION
